         Case 1:25-cv-00402-AHA          Document 36        Filed 02/24/25      Page 1 of 4




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


    GLOBAL HEALTH COUNCIL, et al.,

                   Plaintiffs,
                                                           Civil Action No. 25-cv-402 (AHA)
            v.

    DONALD J. TRUMP, et al.,

                   Defendants.


                     EMERGENCY RENEWED MOTION TO ENFORCE
                         TEMPORARY RESTRAINING ORDER

         Plaintiffs respectfully renew their motion to enforce the temporary restraining order (ECF

No. 29).1 Plaintiffs do not make this request lightly. The Court has already granted the AVAC

Plaintiffs’ February 19, 2025 motion to enforce the TRO and ordered the parties to meet and confer

and submit a joint status report on compliance on Wednesday, February 26. The Court has also

indicated that it will rule promptly after the preliminary injunction hearing, which it is prepared to

hold by March 4, 2025. But as a direct result of Defendants’ persistent failure to abide by the

Court’s previous orders, the harms that Plaintiffs have been facing ever since the issuance of

Executive Order 14,169 have only continued to escalate. Absent Defendants’ immediate

compliance, several Plaintiffs and their members now face the prospect of ceasing operations this

week. Time truly is of the essence. Plaintiffs are thus left with no choice but to seek relief from

the Court now.

         On Thursday, February 20, Plaintiffs moved to enforce the TRO and asked the Court to

order “the immediate payment of all funds owed and due to Plaintiffs and other USAID and State


1
    The parties have met and conferred pursuant to LCvR 7. Defendants oppose this motion.


                                                  1
          Case 1:25-cv-00402-AHA          Document 36       Filed 02/24/25     Page 2 of 4




Department implementing partners.” Mot. to Enforce at 1 (ECF No. 29); see Proposed Order (ECF

No. 29-9). On Friday, February 21, the Court denied Plaintiffs’ motion “without prejudice as moot

in light of the Court’s order yesterday [Thursday, February 20] that Defendants are to ‘immediately

cease [the blanket suspension of funds] and to take all necessary steps to honor the terms of

contracts, grants, cooperative agreements, loans, and other federal foreign assistance awards that

were in existence as of January 19, 2025, including but not limited to disbursing all funds payable

under those terms.’” Minute Order (Feb. 21, 2025).

          All of the facts set forth in Plaintiffs’ February 20 motion to enforce remain true today.

Rather than comply with the TRO, Defendants chose to take a series of new actions—including

severely limiting access to the Phoenix system, funneling all payment approvals through a single

person, terminating hundreds of critical personnel, and suddenly imposing new processes and

procedures concerning payment “integrity” and “policy”—that have had the predictable effect of

all but halting the disbursement of foreign-assistance funds. See Mot. to Enforce at 6–11.

Notwithstanding the TRO and the Court’s subsequent orders on Thursday, Friday, and Saturday,

Plaintiffs are still owed many millions of dollars on due and overdue invoices and reimbursement

requests that were paused under the enjoined foreign-assistance funding freeze; they still lack

access to Letter of Credit (LOC) facilities and other payment management systems for grants and

assistance agreements; and their contracts and awards that were terminated pursuant to Executive

Order 14,169 remain terminated today. See id. at 5–6.

          As set forth in detail in the attached declarations, several Plaintiffs are facing new and

mounting irreparable harms that threaten their very existence and which require emergency relief

prior to the Court’s hearing on the preliminary injunction motion. See Declaration of Eric

Bjornlund; Declaration of Zan Northrip; Declaration of Phillip Green; Declaration of Elisabeth

Sigler.


                                                  2
       Case 1:25-cv-00402-AHA             Document 36     Filed 02/24/25     Page 3 of 4




       Plaintiffs therefore respectfully request that the Court order Defendants to immediately

comply with the TRO and the Court’s order February 20, 2025 order, including by undertaking

the following actions, within 48 hours:

           •   Pay all invoices and Letter of Credit drawdown requests on contracts for work
               completed prior to the entry of the Court’s TRO;

           •   Permit and promptly pay Letter of Credit drawdown requests and requests for
               reimbursements on grants and assistance agreements;

           •   Take no actions to impede the prompt payment of appropriated foreign-assistance
               funds; and

           •   Take all necessary actions to ensure the prompt payment of appropriated foreign-
               assistance funds going forward.

       The attached proposed order sets out this requested relief.

                                          CONCLUSION

       For the foregoing reasons, the Court should grant Plaintiffs’ motion and enter the attached

proposed order.




                                                3
       Case 1:25-cv-00402-AHA   Document 36   Filed 02/24/25     Page 4 of 4




Dated: February 24, 2025              Respectfully submitted,

                                      /s/ Stephen K. Wirth
                                      William C. Perdue (D.C. Bar 995365)*
                                      Sally L. Pei (D.C. Bar 1030194)
                                      Samuel M. Witten (D.C. Bar 378008)
                                      Stephen K. Wirth (D.C. Bar 1034038)
                                      Dana Kagan McGinley (D.C. Bar 1781561)
                                      Allison Gardner (D.C. Bar 888303942)
                                      Daniel Yablon (D.C. Bar 90022490)
                                      ARNOLD & PORTER KAYE SCHOLER LLP
                                      601 Massachusetts Ave., NW
                                      Washington, DC 20001-3743
                                      Tel: (202) 942-5000
                                      stephen.wirth@arnoldporter.com

                                      *application for admission pending

                                      Counsel for Plaintiffs in Case No. 25-402




                                      4
